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                                UNITED STATES DISTRICT COURT
10
                                    FOR THE DISTRICT OF ARIZONA
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     United States of America,                    CASE NO. 2:18-cr-00422-SMB
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                       Plaintiff,                 DEFENDANT JOHN BRUNST’S
14                                                OPPOSITION TO MOTION FOR
                 vs.                              SANCTIONS, PROTECTIVE
15                                                ORDER, AND NOTICE OF
     Michael Lacey, et al.,                       JENCKS ACT DISCLOSURES;
16                                                DECLARATION OF ARIEL A.
                       Defendants.                NEUMAN
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18                                                Assigned to Hon. Susan M. Brnovich,
                                                  Courtroom 506
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     DEFENDANT JOHN BRUNST’S OPPOSITION TO MOTION FOR SANCTIONS, PROTECTIVE ORDER, AND
                             NOTICE OF JENCKS ACT DISCLOSURES
 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2         Defendant John Brunst, by and through his undersigned counsel, hereby files
 3 this Opposition to the United States’ Motion for Sanctions, Protective Order, and
 4 Notice of Jencks Act Disclosures (Dkt. 658 (filed under seal)).
 5         Mr. Brunst joins in the Opposition to the Motion filed by defendants Larkin
 6 and Lacey (Dkt. 672, also filed under seal), and incorporates the arguments set forth
 7 therein by reference. For the sake of judicial economy, he does not repeat them
 8 here.
 9 I.      INTRODUCTION
10         The government makes no allegation in its Motion that Mr. Brunst or his
11 counsel violated any court order. Indeed, as the lead AUSA has separately
12 acknowledged, there is no “evidence that Mr. Brunst disclosed the subject discovery
13 in violation” of the Court’s order, which is the basis for the government’s request
14 for sanctions. Declaration of Ariel A. Neuman (“Neuman Decl.”) at ¶ 3.
15 Nonetheless, the government unjustifiably seeks to punish Mr. Brunst for the
16 alleged transgressions of his co-defendants. Regardless of whether there is a basis
17 to impose sanctions against defendants Larkin and Lacey (there is not), the
18 government’s demand that the Court impose collective punishment on all
19 defendants – including Mr. Brunst and his counsel – is entirely inappropriate. The
20 government barely acknowledges that its request is for collective punishment,
21 including only a footnote (Dkt. 658 at 12, n.6) that alleges that defendants are in a
22 Joint Defense Agreement and therefore “must be subject to” the demanded
23 punishments. As discussed below, the footnote does not support the government’s
24 contention, and in any event, whether a defendant chooses to participate in a joint
25 defense arrangement does not allow the government to trample his constitutional
26 rights and treat him as something other than an individual.
27         If the government has its way, Mr. Brunst and his counsel would suddenly be
28 restricted in their ability to use discovery produced in this case, and worse, would
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 1 not be provided with Jencks Act material for any further witnesses until a month
 2 before trial (Dkt. 658 at 13). Without this critical discovery – most significantly
 3 Carl Ferrer’s witness statements, which the government was ordered to produce no
 4 later than June 25, 2019 – Mr. Brunst and his counsel cannot meaningfully prepare
 5 for trial. Indeed, the government’s motion – filed on the day the government had
 6 been order to produce Ferrer’s witness statements, and without acknowledging that
 7 the government was unilaterally choosing to violate the Court’s order in that regard
 8 – appears to be part of a strategy to delay the production of this material.
 9               The Motion barely acknowledges or attempts to justify its baseless
10 punishment of Mr. Brunst. The government’s guilt-by-association approach is yet
11 another example of its attempts to lump all defendants together as one large group
12 rather than dealing with each defendant as an individual, with his own counsel, and
13 with his own constitutional rights. Such collective punishment would deprive Mr.
14 Brunst of due process and also would infringe his Sixth Amendment rights, and
15 should not be countenanced.
16 II.           ARGUMENT
17               The government’s request that the Court impose sanctions and other
18 restrictions against Mr. Brunst and his counsel should be rejected. First, collective
19 punishment is anathema to our system of justice. Our courts are directed to consider
20 each individual on his or her own basis, with that person’s culpability and personal
21 characteristics in mind, and may only punish a person for the offenses that person
22 committed. See, e.g., U.S. Constitution, Amendments V and VI; 18 U.S.C. 3142; 18
23 U.S.C. 3553(a); Hessel v. O’Hearn, 977 F.2d 299, 305 (7th Cir. 1992) (“That leaves
24 the pure principle of collective punishment as the sole possible basis of liability in
25 this case. Happily that principle is not—not generally, anyway—a part of our law . .
26 . . Proximity to a wrongdoer does not authorize punishment.”); Duncanson v. Wine
27 & Canvas IP Holdings LLC, No. 116CV00788SEBDML, 2018 WL 4699888, at *12
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 1 (S.D. Ind. Sept. 30, 2018) (denying motion for summary judgment, which “smacks
 2 too forcibly of mass proceedings, collective punishment, and guilt by association”).
 3         Second, by the government’s own admissions, Mr. Brunst and his counsel
 4 have not committed any violations of any court orders. Neuman Decl. at ¶ 3.
 5 Because “proportionality must be considered in issuing sanctions,” no sanctions
 6 may be imposed against someone who the other side admits engaged in no
 7 wrongdoing. Imagenetix, Inc. v. Robinson Pharma, Inc., 2017 WL 570708, at *2
 8 (C.D. Cal. Feb. 13, 2017) (citing Google Inc. v. Am Blind & Wallpaper Factory,
 9 Inc., 2007 WL 1848665, at *6 (N.D. Cal. June 27, 2007)) (finding that courts must
10 avoid issuing discovery sanctions that are “out of all proportion to the actual harm
11 wrought” by the action subject to sanction); Hixson v. City of Las Vegas, 2013 WL
12 3677203, at *3 (D. Nev. July 11, 2013) (acknowledging that “sanctions must be
13 proportional to the violation”); Guerrero v. McClure, 2011 WL 4566130, at *3
14 (E.D. Cal. Sept. 29, 2011) (finding that requested sanction to be “unjust” because
15 would not be proportional to the conduct of the non-moving party).
16         Punishing Mr. Brunst for the supposed transgressions of his co-defendants
17 would constitute a violation of his Fifth and Sixth Amendment rights, even if the
18 government’s request for sanctions against those others was not as infirm as it is.
19 Such punishment will directly affect his ability to receive a fair trial and the ability
20 for his counsel to prepare for trial. Indeed, it is only through testimony and prior
21 statements of the government’s anticipated witnesses – discovery of which the
22 government now plans to withhold – that the government can hope to prove its case
23 against Mr. Brunst. Immediate and unfettered access to the expected testimony and
24 prior statements of the government’s most critical witnesses should not be delayed
25 any longer.1 The government’s motion is an improper effort to avoid providing that
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        Mr. Brunst has separately filed a Motion to Compel disclosure of the Jencks Act
28 material for government witness Carl Ferrer, which the government unilaterally
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 1 information to Mr. Brunst, this time under the guise of sanctioning him for conduct
 2 in which, by the government’s own admission, he did not engage.
 3               Whether Mr. Brunst is operating within a joint defense arrangement – the
 4 government’s only purported basis for including him in the requested collective
 5 punishment – is of no moment. First, as discussed in Mr. Brunst’s Motion to
 6 Compel (Dkt. 662), the document to which the government cites in support of this
 7 contention does not reference Mr. Brunst; he is not a party to the agreements
 8 referenced in Dkt. 180, at 6. Second, even if he has availed himself of such an
 9 arrangement, the government may not punish Mr. Brunst solely because of that.
10 Joint defense arrangements are well established and entirely proper. See United
11 States v. Gonzalez, 669 F.3d 974, 977 (9th Cir. 2012) (“The joint defense privilege
12 was first recognized by our court in Continental Oil Co. v. United States, 330 F.2d
13 347 (9th Cir.1964).) Mr. Brunst is entitled to use all resources available to him to
14 prepare his defense to this prosecution. The government may not use his efforts as a
15 basis to impede his constitutional rights.
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27 chose to withhold. Dkt. 662. That Motion further discusses the importance of the
28 withheld discovery.
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1 III.           CONCLUSION
2                For the foregoing reasons, and for those stated in the opposition brief of the
3 other defendants in this case, the government’s Motion should be denied.
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5 DATED: July 9, 2019                          Gary S. Lincenberg
                                               Ariel A. Neuman
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                                               Gopi K. Panchapakesan
7                                              Bird, Marella, Boxer, Wolpert, Nessim,
                                               Drooks, Lincenberg & Rhow, P.C.
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10                                             By:         /s/ Ariel A. Neuman
11                                                               Ariel A. Neuman
12                                                   Attorneys for Defendant John Brunst

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 1                           DECLARATION OF ARIEL A. NEUMAN
 2               I, Ariel A. Neuman, declare as follows:
 3               1.    I am an active member of the Bar of the State of California and a
 4 Principal with Bird, Marella, Boxer, Wolpert, Nessim, Drooks, Lincenberg & Rhow,
 5 A Professional Corporation, attorneys of record for Defendant John Brunst in this
 6 action. I make this declaration in support of Defendant John Brunst’s Opposition To
 7 Motion For Sanctions, Protective Order, And Notice Of Jencks Act Disclosures.
 8 Because this declaration is made for this limited purpose, it does not include all facts
 9 known to me about this case. Except for those matters stated on information and
10 belief, I make this declaration based upon personal knowledge and, if called upon to
11 do so, I could and would so testify.
12               2.    On June 25, 2019, I e-mailed AUSAs Kevin Rapp and Reginald Jones
13 asking them to confirm that they had produced Carl Ferrer’s Jencks Act materials,
14 and if not, to identify the basis for their refusal to produce these materials to Mr.
15 Brunst and his counsel. I also noted to Mr. Rapp and Mr. Jones that the
16 government’s motion for sanctions did not allege any misconduct by Mr. Brunst or
17 his counsel that would justify delaying the production of such materials.
18               3.    On June 26, 2019, I followed up on my request. That day, Mr. Rapp
19 responded, acknowledging that “[y]ou are correct that we do not have any evidence
20 that Mr. Brunst disclosed the subject discovery in violation of the order.” He
21 explained that the government was nonetheless not producing Carl Ferrer’s Jencks
22 Act materials despite the Court’s Order “[b]ecause the defendants are in both a JDA
23               //
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1 and what has been referred to as a common litigation management agreement . . .,
2 we do not know your obligations under these various agreements. This is covered
3 by fn. 6 in the Motion.”
4                I declare under penalty of perjury under the laws of the United States of
5 America that the foregoing is true and correct, and that I executed this declaration
6 on July 9, 2019, at Los Angeles, California.
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8                                                    /s/ Ariel A. Neuman
                                                     Ariel A. Neuman
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